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                        United States District Court
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                        Central District of California
 11   SPACE EXPLORATION                         Case №. 2:19-cv-07927-ODW (GJSx)
      TECHNOLOGIES CORP.,
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 13
                       Plaintiff,
                                                JUDGMENT
           v.
 14
      UNITED STATES OF AMERICA,
 15
                       Defendant,
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           v.
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      BLUE ORIGIN, LLC, et al.,
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                       Defendant-Intervenors.
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Case 2:19-cv-07927-ODW-GJS Document 226 Filed 10/02/20 Page 2 of 2 Page ID #:3371




  1                                        JUDGMENT
  2         In light of the Court’s Order Denying Plaintiff’s Motion for Judgment on the
  3   Certified Administrative Record (ECF No. 233) and the parties’ Joint Response
  4   thereto,
  5         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
  6              1. All dates and deadlines in this action are VACATED and taken off
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                    calendar;
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                 2. Judgment for Defendants as to all of Plaintiff Space Exploration
  9
                    Technologies Corp.’s claims for relief;
 10
                 3. Each party shall bear its own fees and costs;
 11
                 4. The Clerk of the Court shall close the case.
 12
 13         IT IS SO ORDERED.
 14
 15         October 2, 2020
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 17                                 ____________________________________
 18                                          OTIS D. WRIGHT, II
                                     UNITED STATES DISTRICT JUDGE
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